            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION

                      CRIMINAL CASE NO. 2:07cr39-5


UNITED STATES OF AMERICA, )
                            )
                            )
              vs.           )                    ORDER
                            )
                            )
GAVIN COLVIN.               )
                          )



        THIS MATTER is before the Court on the Defendant’s document

captioned “Petitioner Pro Se Motion for Relief pursuant to Rule 60(b)(4) of the

Federal Rules of Civil Procedure to Void the Previously Judgment Dated April

29, 2010, Nunc Pro Tunc and Open the Way for Further Proceeding” [Doc.

152].

        After the Defendant was tried and sentenced and while his case was on

appeal, he moved to dismiss the bill of indictment. [Doc. 146; Doc. 147; Doc.

149]. The Court denied his request in April 2010. [Doc. 151]. Four months

later, the Defendant filed this motion, invoking the Federal Rules of Civil

Procedure in a criminal case and declaring the Order denying his motion to

dismiss the indictment to be void.




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      The Court has reviewed the motion and finds that the Defendant has not

stated any grounds for relief. The pleading is frivolous and the Defendant is

placed on notice that the Court will not continue to entertain frivolous filings.

      Prisoners do not have an absolute and unconditional right of access to

the courts in order to prosecute frivolous, malicious, abusive or vexatious

motions. Demos v. Keating, 33 Fed.Appx. 918 (10 th Cir. 2002); Tinker v.

Hanks, 255 F.3d 444, 445 (7 th Cir. 2001), certiorari denied 535 U.S. 956, 122

S.Ct. 1362, 152 L.Ed.2d 357 (2002); In re Vincent, 105 F.3d 943 (4 th Cir.

1997). District courts have inherent power to control the judicial process and

to redress conduct which abuses that process. Silvestri v. General Motors

Corp., 271 F.3d 583, 590 (4 th Cir. 2001) (citation omitted).          “It is well-

established law in this circuit that a district court may establish a system of

‘pre-filing review of complaints brought by prisoners with a history of

litigiousness.’” In re Burnley, 988 F.2d 1, 3 (4 th Cir. 1992) (citation omitted).

      The Defendant is hereby warned that future frivolous filings will result in

the imposition of a pre-filing review system. Cromer v. Kraft Foods North

America, Inc., 390 F.3d 812 (4 th Cir. 2004); Vestal v. Clinton, 106 F.3d 553 (4 th

Cir. 1997). If such a system is placed in effect, pleadings presented to the

Court which are not made in good faith and which do not contain substance,

will be summarily dismissed as frivolous. Foley v. Fix, 106 F.3d 556 (4 th Cir.




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1997); In re Joseph Marion Head, 19 F.3d 1429 (4th Cir. 1994), certiorari

denied 513 U.S. 999, 115 S.Ct. 508, 130 L.Ed.2d 416 (1994). Thereafter, if

such writings persist, the pre-filing system may be modified to include an

injunction from filings. See, 28 U.S.C. §1651(a); In re Martin-Trigona, 737

F.2d 1254 (2d Cir. 1984).

      IT IS, THEREFORE, ORDERED that the Defendant’s document

captioned “Petitioner Pro Se Motion for Relief pursuant to Rule 60(b)(4) of the

Federal Rules of Civil Procedure to Void the Previously Judgment Dated April

29, 2010, Nunc Pro Tunc and Open the Way for Further Proceeding” [Doc.

152] is hereby DENIED.

                                       Signed: October 1, 2010




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